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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


VIDEOSHARE, LLC,                                §
         Plaintiff,                             §
                                                §
v.                                              §
                                                §       Case No. 6-19-cv-00663-ADA
GOOGLE LLC, YOUTUBE, LLC,                       §
         Defendants.                            §
                                                §

                 REFERRAL ORDER TO MAGISTRATE JUDGE GILLILAND

       It is hereby ORDERED that this case is referred to United States Magistrate Judge Derek

T. Gilliland for disposition of all non-dispositive pretrial matters as provided in 28 U.S.C.

§ 636(b)(1)(A) and for findings and recommendations on all case-dispositive motions as provided

in 28 U.S.C. § 636(b)(1)(B).

              SIGNED this 29th day of April, 2022.




                                                     ALAN D ALBRIGHT
                                                     UNITED STATES DISTRICT JUDGE
